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EXHIBIT “H”
Case 2:09-md-02047-EEF-MBN Document 8685-9 Filed 05/03/11 Page 2 of 13

Montoya, Patrick

From: ‘Lenny Davis (LDAVIS@hhke.com]

Sent: Wednesday, April 27, 2011 1:35 PM

To: Tom Owen; Seeger, Chris; BASSH@gtlaw.com; eric.statman@hoganlovells.com; Gonzalez,
Ervin

Ce: frank.spano@hoganlovells.com; Rick Staniey; Russ Herman; Fred Longer;
Jos.cyr@hoganlevalls.com; alevingilfsblaw.com: Montoya, Patrick; Grand, Jeff:
rserpe@serpefirm.com; Toni Vallajes; Lilian Flemming; Anthony Irpino

Subject: RE: Meet-and-Confer

Attachments: Motion to Compel Sections. pdf

This confirms the hour long meet and confer we had just a little while ago. This is the
second meet and confer that we have had following Judge Fallon's directives at the status
conference. Participating in the conference for Taishan was Frank Spano, Renee Garcia,
Matthew Galvin, Tom Owen, and Courtney Colegan (sorry if I misspelled). Participating for
the PSC, in addition to myself, was Arnold Levin, Fred Longer, Ervin Gonzalez, Patrick
Montoya, Richard Serpe and Anthony Irpino, Hilarie Bass participated for the Home Builders.
I advised that others may have an interest in this matter, but that I did not know if the
Taishan lawyers had included them, and they may have further comments. We are mindful of
your desire to conclude jurisdictional discovery. We indicated to you that “full and
complete” disclosure was necessary and that we did not believe that the Hong Kong 3@(b)(6)
deposition was conducted in that light. There were glaring issues to which many have already
been addressed and we did not rehash them in the call. The PSC has advised that it intends
on seeking sanctions as a result of the improper discovery techniques and responses of
Taishan (and I have used this term generically as indicated in the call}. You requested that
we outline the various items discussed in the call with respect to documents being sought and
testimony. Attached is a summary that should provide substantial assistance. We are also
interested in obtaining the following:

i, Production of all documents underlying the Profile Forms;

2. Confirmation of your verbal representation that a hold was placed on all ESI so that
all Taishan documents have been preserved;

3. Production of a meaningful and knowledgeable corporate representative who is able ta
fully and completely testify regarding the Profile Form and the transactions referenced in
the Profile Form;

4, Production of Bill Cher to testify;

5. Production of Apollo Yang to testify;

6. Production of all custodian files and documents by, to or among Bill Cher;

7. Production of all custodian files and documents by, to or among Apollo Yang; and

8, Production of the individual who signed the Profile Forms.

We have requested that if you believe any documents have been produced that are responsive to
the various requests, that you identify by specific bates number those documents that are
responsive to a particular request. We have thus far not been able to identify produced
documents to the particular requests identified in this email. We, therefore, seek your
cooperation and assistance so as to avoid unnecessary delays and unneeded motion practice.
The identification of documents by bates number that are responsive to the requests is
helpful.

We agreed to disagree regarding the witnesses who testified concerning the Profile Form. You
believe the witnesses were forthcoming and knowledgeable. Hilarie disagreed and cited
specific page numbers from the deposition. We agreed that this matter would be addressed
with the Court.

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Hilarie indicated that it was her intention to have a motion filed by Tuesday, May 3, 2611.
I indicated to you that the PSC hoped to have its motion on file prior to that. Hilarie and
I both indicated that it was our intent to have the matters set for hearing on May i1, 2011,
as discussed with the Court at the status conference. You indicated that this time frame
should be delayed and requested that any motions be set following the status conference. We
oppose any delay.

You requested that the PSC set forth specific items in additional interrogatories and/or
request for production. We indicated that Judge Fallon requested that we meet and confer to
avoid the delay in response and that we believed the meet and confer process had been
beneficial so that you had a complete understanding based upon the two meet and confers as to
the items being sought. This email certainly confirms the items addressed and you now have
had ample opportunity to know the issues that will be set forth in the motion to be filed. We
remain committed to continuing meet and confer sessions if you so desire. We requested that
you respond to cur particular requests this week and if any can be resolved prior to filing
motions, we would attempt to do so. We also indicated that we remain committed to the meet
and confer process, even after the filing of motions, and again offered to meet in Hilarie
Bass’ office in New York on May 9, 2@11.

Finally, you requested confirmation that the PSC would drop its request for sanctions. We
have not agreed to do that. We have advised you that we do not believe Taishan has been
forthcoming or acted proper in responding to discovery. We remain committed to discovering
all items necessary to pursue this litigation and will not tolerate obstruction, unnecessary
delays, and expect that there will be candor in dealing with these matters.

I believe this captures the substance of our discussion.

Leonard A. Davis

Attorney at Law

Herman, Herman, Katz & Cotlar LLP

Herman Gerel LLP

820 O'Keefe Avenue

New Orleans, Louisiana 70113

564-581-4892

564-561-6024{ fax)

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cecne Original Message-~---

From: Tom Owen [mailto:tpo@stanleyreuter.com]

Sent: Wednesday, April 27, 2@11 9:24 AM

To: Lenny Davis; Seeger, Chris; BASSH@gtlaw.com; eric. statman@hoganlovells.com;
ervingcolson.com

Cc: frank. spano@hoganlovells.com; Rick Stanley; Russ Herman; Fred Longer;

joe. cyr@hoganlovells.com; alevin@lfsblaw.com; Patrick Montoya; Grand, Jeff;
rserpe@serpefirm.com; Toni Vallejos; Lillian Flemming

Subject: RE:. Meet-and-Confer

Do you have the cail-in information for the conference at 11? Thanks.

Thomas P., Owen, Jr.

7~--

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Stanley, Reuter, Ross, Thornton, & Alford L.L.C.
Counsellors at Law

989 Poydras Street, Suite 2590

New Orleans, Louisiana 70112

TELEPHONE: (504) 523-1580

TELECOPIER: (504) 524-6969

WEBSITE: www.stanleyreuter.com

E-MAIL: tpo@stanleyreuter.com

weene Original Message~-~----

From: Lenny Davis [mailto:LDAVIS@hhkc. com]

Sent: Tuesday, April 26, 2011 4:4¢ PM

To: Seeger, Chris; BASSH@gtlaw.com; eric. statman@hoganlovells.com; ervin@colson.com

Cc: tpo@stanleyreuter.com; frank. spano@hoganilovells.com; rcs@stanleyreuter.com; Russ Herman;
Fred Longer; joe.cyr@hoganlovells.com; alevin@lfsblaw.com; Patrick Montoya; Grand, Jeff;
rserpe@serpefirm.com; Toni Vallejos; Lillian Flemming

Subject: RE: Meet-and-Confer

It appears that only tomorrow will work for a second meet and confer. I am asking my
assistant to circulate a call in number for a call at 11 am CT (noon et) tomorrow to further
address taishan discovery issues. If for seme reason taishans counsel is unable to
accommodate or participate in a second meet and confer tomorrow the psc will have no choice
but to finalize the motions we intend on filing and then circulate them to tasishan so that
after review taishen can address issues and further meet and confers can occur, I assume but
have not. spoken to Hillarie since court that she too will be prepared to finalize any motions
and address them at a later date when taishans counsel is available. The pse does not want to
delay these matters and intends on having the court hear any motions that are necessary at
the earliest possible date. Again I reiterate that if the motions are filed the pse will
continue to meet and confer to attempt to resolve any issues we can and to continue to obey
and act in the spirit that Judge Fallon suggested today in court.

Leonard A, Davis

Attorney at Law

Herman, Herman, Katz & Cotlar LLP

Herman Gerel LLP -

828 O'Keefe Avenue

New Orleans, Louisiana 76113

504-581-4892

504-561-6824(fax)

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Thank you,

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cccn- Original Message-----

From: Seeger, Chris [mailto:CSeeger@seegerweiss.com]

Sent: Tuesday, April 26, 2611 4:26 PM

To: Lenny Davis; 'BASSH@gtlaw.com'; "eric. statman@hoganlovells.com'; earvin@cealson.com

Cc: ‘tpo@stanleyreuter.com'; ‘frank, spano@hoganlovells.com'; 'res@stanleyreuter.com'; Russ
Herman; Fred Longer; ‘joe.cyr@hoganlovells.com'; ‘aleving@lfsblaw.com'; Patrick Montoya;
Grand, Jeff; ‘rserpe@serpefirm. com"

Subject: Re: Meet-and-Confer

all

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I can do tomorrow.

Tree Original Message -----

From: Lenny Davis <LDAVIS@hhke. com>

To: BASSH@gtlaw.com <BASSH@gtlaw.com>; eric. statman@hoganlovells.com
<eric,statmanghoganlovells.com>; ervin@colson.com

Cc; tpo@stanleyreuter.com <tpo@stanleyreuter.com>; frank. spano@hoganlovells.com
<frank. spano@hoganlovells.com>; rcs@stanleyreuter.com <rcs@stanleyreuter,com>; Russ Herman
<RHERMANG@Ghhkc. com>; Fred Longer; joe.cyr@hoganlovells.cam <joe.cyr@hoganlovells. com> ;
ALevin@lfsblaw.com <ALevin@lfsblaw.com>; Seeger, Chris; Patrick Montoya; Grand, Jeff;
rserpe@serpefirm.com <rserpe@serpefirm. com>

Sent: Tue Apr 26 17:12:34 2011

Subject: RE: Meet-and-Confer

Tomorrow works for me. I am in court Friday. sorry

Leonard A. Pavis

Attorney at Law

Herman, Herman, Katz & Cotlar LLP

Herman Gerel LLP

826 O'Keefe Avenue

New Orleans, Louisiana 7@113

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aoe Original Message-~+---

From: BASSH@gtlaw.com [mailto:BASSH@gtlaw. com]

Sent: Tuesday, April 26, 2011 3:59 PM

To: eric.statman@hoganlovells.com; Ervin@colson.com; Lenny Davis

Cc: tpo@stanleyreuter.com; frank. spano@hoganlovelis.com; rcs@stanleyreuter.com; Russ Herman;
FLonger@lfsblaw.com; joe.cyr@hoganlovells.com; ALevin@lfsblaw.com; cseeger@seegerweiss.com;
patrick@colson.com; jgrand@seegerweiss.com; rserpe@serpefirm. com

Subject: RE: Meet-and-Confer

I will be at the 11th Circuit Judicial Conference on Thursday and so unavailable for a meet
and confer, I can do this call either tomorrow, late Friday afternoon or next Monday. Please
advise as to preferences.

Thanks.

Hilarie Bass

Global Operating Shareholder
333 Avenue of the Americas
Miami, Florida 33131

Phone: 385-579-0745

Fax: 385-579-6641

email: bassh@gtlaw. com
Website: www.GTLaw.com

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Albany*Amsterdam*Atlanta*Boca Raton* Boston*Chicago*Dallas*Denver*Fort Lauderdale*Las
Vegas*Los Angeles*Miami*New Jersey*New York*orange
County*0rlando*Philadelphia*Phoenix*Silicon

Valley*Tallahassee*Tokyo*Tysons Carner*Washington, D.C.*wWest Palm Beach*wilmington*Zurich

From: Statman, Eric [mailto:eric.statman@hoganlovells.com]

Sent: Tuesday, April 26, 2811 3:51 PM

To; Gonzalez, Ervin; Lenny Davis

Cc: Bass, Hilarie (Global Operating Shareholder); Tom Owen; Spano, Frank T.; Rick Stanley;
Russ Herman; FLonger@lfsblaw.com; Cyr, Joe; ALevin@lfsblaw.com; Chris Seeger; Montoya,
Patrick; Grand, Jeff; Richard Serpe

Subject: RE: Meet-and-Confer

Attached is an email I sent earlier to Hillarie Bass concerning our request that the
conference regarding the jurisdictional discovery

issues be held on Thursday afternoon. Sorry I didn't send it out

earlier, but I didn't realize that she and Lenny Davis were using different distribution
lists.

Eric Statman

Counsel

Hogan Lovells US LLP

875 Third Avenue

New York, NY 16022

Jel: +1 212 918 3080

Direct: +1 (212) 989-0609

Fax: #1 212 918 3100

Email: eric.statman@hoganlovells.com

www. hoganiovelis.com

Please consider the environment before printing this e-itail.

seere Original Message---~-

From: Gonzalez, Ervin [mailto:Ervin@colson.com]

Sent: Tuesday, April 26, 2611 2:29 PM

To: Lenny Davis

Cc: Bass, Hilarie (Global Operating Shareholder}; Tom Qwen; Spano, Frank T.; Rick Stanley;

Russ Herman; Flonger@lfsblaw.com; Cyr, Joe; Statman, Eric; ALevin@lfsblaw.com; Chris Seeger;

Montoya, Patrick; Grand, Jeff; Richard Serpe
Subject: Re: Meet-and-Confer

I am available. Just let us know if in person or if call in.

Ervin A. Gonzalez

Sent from my iPad

255 Alhambra Circle, Penthouse
Coral Gables, Fl. 33134
365-476-7466

eee

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On Apr 26, 2@11, at 1:25 PM, Lenny Davis <LDAVIS@hhkc.com><mailto: LDAVIS@hhkc.com>> wrote:

I too can be available at 11 am ct tomorrow. We met today and I laid out
4 areas that were important. They included:

1) Documents not produced and asked for previously

2) Documents provided late and many in foreign language that were
not transcribed/translated to English

3) Witnesses that did not provide responses to questions/areas in
the 30(b)(6} notice

4) Witnesses that had knowledge of the profile form

Others may have some additional areas that are important and we can expand the list as needed
or appropriate. Russ addressed several issues in open court today. However when we met after
todays conference, I explained all 4 of these areas and the need for taishan te put up
corporate representatives that were capable of responding to questions.

While frank did not believe that we were "fair" in our request I explained to him what the
psc considered fair and in compliance with Judge Fallons methods of conducting discovery. We
are entitled to the information and without obstructions or impediments. We have no
obligation te divulge our work product or strategy in advance. We are happy to meet and
confer, In fact I also agreed to send frank a copy of the motion in advance of filing so that
he could address any issues, I even agreed to multiple meet and confer sessions and offered
to continue them after we filed any motions, I am available to meet in new York on the Sth.
motions will be filed before then unless taishan agress to resolve the matters but in any
event we can continue a dialogue then.

The psc will not agree to more taishen delays. We dasire to get the documents now, have an
opportunity to review them and set depositions in may or june. Please begin securing
available dates so that we can coordinate calendars to set the depositions, We expect that in
the next confer session frank will get us names and some dates we can discuss as well as let
us know when documents can be produced promptly, Thanks

Leonard A. Davis

Attorney at Law

Kerman, Herman, Katz & Cotlar LLP

Herman Gerel LLP

820 O'Keefe Avenue

New Orleans, Louisiana 7@113

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From: Bass, Hilarie (Global Operating Shareholder) [mailto:BASSH@gtlaw.com]}
Sent: Tuesday, April 26, 2011 12:3@ PM

To: Tom Owen

Ce: Lenny Davis; Spano, Frank T.; Rick Stanley; Russ Herman;
FLonger@lfsblaw.com<mailto:FLonger@lfsblaw.com>; Cyr, Joe; Statman, Eric
Subject: Re: Meet-and-Confer

I am available tomorrow if you would like to talk further about a meet and confer. I do not
think that we are under any obligation to provide you with a written list of our objections,

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but believe that Lenny's offer to provide a draft of our motion to compel before filing it
next week should more than meet your requirements to be advised of each of our objections.
We are also willing to meet with you in my office in NY on may 9th to talk further about
these issues in advance of the hearing on May 11, since many on this email will be there for
deposition scheduled for the isth. Thanks.

Sent from my iPhone

On Apr 26, 2011, at 16:53 AM, "Tom Owen"

<<mailto: tpo@stanleyreuter. com>tpo@stanleyreuter. com<mailto:tpo@stanleyr
eyter.com>> wrote:

Dear Lenny and Hilary:

As discussed today at the status conference, the Court ordered us to meet and confer
regarding any outstanding jurisdictional discovery issues in an attempt to resolve them
before you engage in any motion practice, In a brief conversaticn after the status
conference, you indicated that the only way to resolve these issues is through additional
depositions and that you intended to file a motion to compel these depositions before

participating in any meet and confer. As we indicated to you at the status conference, we do

not believe that this approach comports with either the discovery rules or what the Court
ordered at the status conference. Therefore, we reiterate our request that you provide us
with a list of the specific factual issues related to personal jurisdiction discovery that
you believe require. follow up, and then provide us with a meaningful opportunity to meet and
confer in order to explore the appropriate means for resolving these remaining issues, such
as interrogatories, RFAS, or other mechanisms, that can accommodate your needs while
minimizing the expenditure of time and effort in finishing this discovery.

Frank Spano
Tom Owen

Thomas P. Gwen, Jr.

Stanley, Reuter, Ross, Thornton, & Aiford L.L.C.

Counsellors at Law

909 Poydras Street, Suite 2590

New Orleans, Louisiana 78112

TELEPHONE: (504) 523-1580

TELECOPIER: (504) 524-9069

WEBSITE: <http://www.stanleyreuter.com> www.stanleyreuter. com<http://waw. stanleyreuter. com>
E-MAIL: <mailto:tpog@stanleyreuter. com>

tpo@stanleyreuter.com<mailto: tpo@stanieyreuter. com>

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At the start of the first deposition on April 4, 2011, defense counsel produced
3 documents, reflecting transactions that occurred between Taishan Gypsum Co,
and Taishan Plasterboard Company, including: a licensing agreement; a warehouse
leasing agreement; and an equipment purchase agreement. These documents were
produced in Chinese-language. According ta defense counsel, they had only been
“located” the day priorte See April 4,2011 Dep. Tr. of Tongchun Jia (hereafter “Jia
Tr.”} at 16:02-17:11, Off the record, Plaintiffs’ counsel jnquired as to whether
defendant had performed a translation of the documents and defense counsel
indicated that no translation existed. Thus, for a deposition where the subject
matters for examination included the relationship between Taishan Gypsum and
Taishan plasterboard and any transactions between the entities, Defendants
produced highly relevant documents in Chinese language at the start of deposition.
In light of this eleventh-hour disclosure and the fact that prior to this date, the PSC
has not received any similar such materials from Defendants, Plaintiffs seek
production of the following:

1. Any and all licensing, marketing, rental, leasing, shipping, loan, or expense-
sharing agreements between the two entities, and any translations thereof;

2, Any and all notes, correspondence, email, reports, analyses, or memoranda
concerning such agreements, and any translations thereof;

3. Any and all board minutes where executive, directors, or shareholders of
either Taishan Gypsum or TTP discussed, approved, or voted, on such
agreements; and

4, Any and all documentation of any payments or exchange of monies between
the two entities,

Tongchun Jia is Chairman of the Board and General Manager for Taishan
Gypsum. Jia Tr. at 24:21-26:09, He also sits on the Board of Beijing New Building
Materials (“ENBM”), which owns XX percent of TG and which holds out TG as a main
component of its plasterboard production. See, e.g., BNBM 2007 Annual Rpt, at XX;
BNEM 2009 Annual Rpt. at XX. Thus far, TG has produced no information pertaining
to its relationship with BNBG, Therefore, Plaintiffs seek production of the following:

1. Any documents and communications relating to BNBM’s acquisition of
shares in TG;
Any board minutes of BNBM where TG is discussed or referenced in any way;
Any board minutes. of TG where BNEBM is discussed or referenced in any way;
. Any reports, analyses, or summaries regarding TG’s operations or finances
that have been provided to BNEM;
5. Any reports, analyses, or summaries regarding BNBM’s operations or
finances that have been provided to TG;

awe

Case 2:09-md-02047-EEF-MBN Document 8685-9 Filed 05/03/11 Page 12 of 13

6. All annual reports, government filings, or foreign government filings created
by TG during the relevant time period; and

7. Allannual reports, government filings, or foreign government filings created
by BNBM during the relevant time period.

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To date, Taishan’s production contains no emails from Tongchun Jia. NEED
TO VERIFY IT IS ACTUALLY NO EMAILS, At his deposition, Mr. Jia testified that
there are three people in his office who occasionally receive and send emails on his
behalf: Zhang Jian Chun, Chen Xin Hua, and Zhao Xiu Yun. See, 2.g., Jia Tr. at 54:06-
54:19 and 57:21-58:13. Therefore, Plaintiffs request production of all emails from
the files of Tongehun Jia and the witnesses identified above, pertaining to the
subject matters identified in the Rule 30(b) (6) deposition notice.

Mr. Jia testified that he receives a monthly report concerning the operations
of TTP and that occasionally, he has exchanges with the directors of TTP. See Jia Tr.
at 131;18-132:11. To date, the PSC has not received any such reports. Plaintiffs
request production of all monthly reports generated by TTP and sent to TG.

Further, Plaintiffs request any and all communications between Mr, Jian and the
Board of Directors of TTP, including but not limited to Pang Shi Liang. Additionally,
Mr. Jia testified that he received audited financial statements from TTP on a monthly
basis. See id. at 136:03-06. Plaintiffs request production of any and all financial
statements created by TTF during the Relevant Time Period.

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Mr. Jia testified that BNBM has guaranteed loan obligations on behalf of
Taishan Gypsum. See Jia Tr. at 191:18-20. Plaintiffs request ali documents and
communications relating to any guarantees provided by BNBM on behalf of TG.

Mr. Jia also testified that in investigation of the alleged defects associated
with Chinese Drywall, that TG conducted some testing. That testing included the
construction of a building using Chinese Drywall, where no subsequent problems
were detected, and that TG conducted a survey of its customers and found no
complaints related to the drywall. See Jia Tr. at 370:10-18, Plaintiffs request any
and all documents and communications relating to the test building constructed by
TG, as well as all documents and communications relating to the customer survey
performed by TG in investigation of the allegations concerning Chinese Drywall.

Mr, Jia testified that the Chinese government conducted testing of the drywall
and that the test results are in possession of the Chinese government. See Jia Tr. at

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376:08-377:05; 377:20-378:12. Plaintiffs request any and all documents and
communications related to such testing in the possession of TG.

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Jianchun Zhang testified that as Secretary to the Board of Directors for TTP,
he drafted documents for the baard of directors and assisted in management of the
day to day operations of the business. April 6, 2011 Dep. Tr. of Jianchun Zhang
(“Zhang Tr.”). Plaintiffs request the custodial file of Mr. Zhang,

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Mr. Zhang testified that from 2006 to 2009, TTP created annual reports and
that he has access to such reports. See Zhang Tr. at 63:19-64:07; 65:01-12.
Amazingly, Mr. Zhang did not review those reports in preparation for deposition,
despite the fact that he was the designated corporate representative for TTP, See id.
Plaintiffs request production of all annual reports for TTP.

Mr. Zhang testified that there were sales records for TTP from 2006-2007,
although he did not review them. See id, at 69:06-18. The only sales information
produced by TTP for drywall is the chart annexed to the manufacturer profile form.
Plaintiffs request the underlying documentation that lists all TTP gypsum board
sales from 2006 and 2007.

Mr. Zhang testified that there have been occasions when TG has provided
services to TTP for a fee, and that TTP’s finance department has records of such
transactions. See id, at 114:04-115:08. To date, no such records have been provided
to the PSC. Plaintiffs request any and all records concerning transactions between
TG and TTP,

Mr. Zhang testified that the decision to shut down TTP’s production of
drywall in 2008 was a joint decision made by the Board of Directors of both TTP and
TG. See id. at 155:01-05, Plaintiffs request production of any board minutes,
correspondence, communications, documentation, summaries, memoranda, or
analyses relating to this decision.

None of the witnesses produced by Defendants were able to verify the sales
history contained in the Manufacturer Profile Forms produced by Defendants, nor
were they able to explain how the information contained in the MPFs was collected.
Plaintiffs request all source information for the sales history data contained in the
MPFs.

